Case 2:23-cv-01218-JES-KCD     Document 413     Filed 06/17/25   Page 1 of 3 PageID
                                    14224



                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

                       CASE NO.: 2:23-cv-01218-JES-NPM

DANESH NOSHIRVAN,

      Plaintiff,

v.

JENNIFER COUTURE, et al.,

      Defendants.
                                            /

   DEFENDANTS JENNIFER COUTURE, RALPH GARRAMONE, M.D.,
  WRAITH, LLC AND OMG REALTY, LLC’S NOTICE OF JOINDER IN
    RALPH GARRAMONE, M.D., P.A. D/B/A GARRAMONE PLASTIC
SURGERY’S NOTICE OF NON-COMPLIANCE WITH COURT ORDER AND
  OBJECTION TO PLAINTIFF’S UNTIMELY REBUTTAL REPORT OF
                    CHRIS SILVER SMITH

      Defendants Jennifer Couture, Ralph Garramone, M.D., Wraith, LLC and OMG

Realty, LLC, hereby join in Defendant Ralph Garramone, M.D., P.A., D/B/A

Garramone Plastic Surgery’s Notice of Plaintiff’s Non-Compliance with Court Order

and Objection to Plaintiff’s Untimely Rebuttal Report of Chris Silver Smith [D.E. 411]

filed June 16, 2025.

Date: June 17, 2025       Respectfully submitted,


                                By:   /s/ Aaron Alfano_____________________
                                      Aaron Alfano, Esq.
                                      (Florida Bar No. 0083909)
                                      Brian P. Henry, Esq.
                                          1
Case 2:23-cv-01218-JES-KCD     Document 413     Filed 06/17/25   Page 2 of 3 PageID
                                    14225


                                      (Florida Bar No. 0089069)
                                      Rolfes Henry Co., L.P.A.
                                      5415 87th Street East
                                      Bradenton, FL 34211
                                      T: (941) 684-0100
                                      F: (941) 684-0109
                                      E: aalfano@rolfeshenry.com
                                      E: sburns@rolfeshenry.com
                                      E: bhenry@rolfeshenry.com
                                      E: kmcclintock@rolfeshenry.com

                                      Attorneys for Defendants Jennifer Couture,
                                      Ralph Garramone, MD, OMG Realty, LLC,
                                      and Wraith, LLC


                         CERTIFICATE OF SERVICE

      I hereby certify that a true and accurate copy of the foregoing Notice of
Substitution of Counsel was served this 17th day of June, 2025, on all counsel or
parties of record via the Court’s Electronic Filing System, Electronic Mail, or via
regular mail:
      Nicholas A. Chiappetta, Esq.
      Fla. Bar No. 1006407
      Chiappetta Trial Lawyers
      2101 Vista Parkway, Ste. 258
      West Palm Beach, FL 33411
      T: 561-768-4500
      E: nick@chiappettalegal.com

      Attorney for Plaintiff

      Harvey W. Gurland, Jr., Esq.
      Fla. Bar No. 284033
      Julian A. Jackson-Fannin, Esq.
      Fla. Bar No. 93220
      Duane Morris, LLP
      201 South Biscayne Blvd., Ste. 3400

                                          2
Case 2:23-cv-01218-JES-KCD    Document 413       Filed 06/17/25   Page 3 of 3 PageID
                                   14226


      Miami, FL 33131
      T: 561-962-2108
      E: hwgurland@duanemorris.com
      E: jjfannin@duanemorris.com
      E: pnjemdoza@duanemorris.com
      E: jmagarin@duanemorris.com

      Attorneys for GPS

      Patrick Trainor, Esq.
      Law Office of Patrick Trainor, Esq., LLC
      19 Union Avenue, Suite 201
      Rutherford, NJ 07070
      T: 201-777-3327
      E: pt@ptesq.com

      Attorney for all Defendants
      Except Garramone Plastic Surgery,
      Jennifer Couture, Dr. Ralph Garramone,
      OMG Realty, LLC and Wraith, LLC


                                     /s/ Aaron Alfano________________
                                     Aaron Alfano (Fla Bar No.: 83909)




                                         3
